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          Exhibit A
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SEC v. CryptoFX LLC et al
Receipts and Disbursements

Receipts

      Cash                                        Cash located at 1124 Blalock                                         $53,346
      Cash in Safe                                Recovered from two safes at Blalock                                 $392,765
      First Community Credit Union                Closed Benvenuto bank account                                       $407,042
      First Community Credit Union                Closed Benvenuto bank account                                        $44,406
      Bank of America                             Closed Benvenuto bank account                                        $16,825
      Bank of America                             Closed Benvenuto bank account                                         $4,500
      Simmons Bank                                Closed Benvenuto bank account                                        $80,764
      Simmons Bank                                Closed CBT bank account                                             $247,916
      Regions Bank                                Closed Chavez bank account                                              $782
      Coinbase, Inc.                              Proceeds from liquidation of crypto account                         $982,924
      Blockchain.com                              Proceeds from liquidation of crypto account                       $1,161,141
      Burford Perry LLC                           Balance of retainer                                                 $155,631
      Gerger Hennessy & Martin LLP                Balance of retainer                                                 $214,488
      Jones Walker Retainer                       Turned over to Receiver                                             $102,229
      Televisions                                 Located at 1124 Blalock                                               $3,040
      Pratt & Flack LLP                           Cash turned over to the Receiver by Chavez                           $55,000
      Hogan Lane, Hempstead TX                    Net sale proceeds from sale of real property                         $64,758
      Exodus Wallet                               BTC, Tether & Solana. Liquidated in April 2023                       $86,915
      28 Lawrence Marshall Dr, Hemptstead, TX     Net sale proceeds from sale of real property                         $65,027
      2020 Volkswagen Tiguan                      Turned over to Receiver by Angelica Vargas and liquidated            $16,695
      2021 Mercedes-Benz GLE AMG                  Turned over to Receiver by Mauricio Chavez and liquidated            $63,568
      Chavez's personal property                  Net auction proceeds                                                  $9,267
      Mack Washington, Hempstead, TX              CBT purchased for $2.05 million. Net sale proceeds from closing   $1,027,280

                                                  Total Receipts                                                    $5,256,308

Disbursements

      Webster's Auction Palace, Inc.            Inspection of contents at 1616 Post Oak Blvd                           $2,000
      Hays Financial Consulting, LLC            Professional Fees and Expenses awarded                               $358,144
      John Lewis Jr., Receiver                  Professional Fees and Expenses awarded                               $198,818
      Shook Hardy & Bacon, LLP                  Professional Fees and Expenses awarded                               $947,739
      Pugh Accardo, LLC                         Professional Fees and Expenses awarded                                 $1,634
      BlockTrace LLC                            Professional Fees and Expenses awarded                               $175,572
      Frank Jack Sodetz III                     Fee for researching the on-going fraud in Chicago                        $700
      Appraisal MC                              Appraisal for Lot 1- Mack Washington, Hempstead TX                     $1,875
      Plateau Land and Wildlife Management, Inc Refile Wildlife Management Plan with Biologist Site Visit              $1,295
      Giorgio Benvenuto                         Monthly Allowance - $6,000 per month - Thru June 2023                $126,000
      Pratt & Flack LLP                         Fees & Expenses paid per Court Order, Docket # 67                    $146,583
      SalesForce                                Prepayment for data hosting                                            $3,838
      Santander Consumer USA                    BMW Lien payoff prior to sale of same                                 $36,450

                                                  Total Disbursements                                               $2,000,647

Cash in Bank (9/30/2024)                                                                                            $3,255,661
